Case 5:19-cv-01023-JGB-SP Document 62-12 Filed 10/04/21 Page 1 of 23 Page ID
                                 #:1203




                        Exhibit 9
Case 5:19-cv-01023-JGB-SP Document 62-12 Filed 10/04/21 Page 2 of 23 Page ID
                                 #:1204
                           Atkinson Baker, a Veritext Company
                                     www.depo.com


  1                     UNITED STATES DISTRICT COURT

  2                    CENTRAL DISTRICT OF CALIFORNIA

  3

  4

  5

  6
       V.R . a minor, by and through)
       her guardian ad litem Ariana)
                                                         ORIGINAL
       Toscano, individually and as)
  7    successor in interest to Juan)
       Ramon Ramos, deceased; and    )
  8    RAMONA TERRAZAS; ABRAHAM      )
       TERRAZAS; BLANCA ZUNIGA;      )
  9    DAVID ZUNIGA, SR.; DAVID      )
       ZUNIGA, JR.; and JOSE ZUNIGA,)
 10    in each case individually,    )
                                                )
 11                     Plaintiffs,             )
                                                )
 12             vs.                             )        No . 5:19-cv-01023
                                                )             JGB-SP
 13    COUNTY OF SAN BERNARDINO;    )
       GARY WHEELER; THUN HOUN;     )
 14    JASON CALVERT; and DOES 4-10,)
       inclusive,                   )
 15                                             )
                        Defendant .             )
 16    _________________ )
 17

 18
                                    DEPOSITION OF
 19
                                 ABRAHAM TERRAZAS
 20
                                 FEBRUARY 25, 2021
 21

 22

 23    ATKINSON-BAKER, A VERITEXT COMPANY
       www . depo.com
 24    (800) 288-3376
       REPORTED BY:   MELISA RUSSIE, CSR NO. 7040
 25    FILE NO.: AF0067C


                                   Abraham Terrazas
                                   February 25, 2021                           1
Case 5:19-cv-01023-JGB-SP Document 62-12 Filed 10/04/21 Page 3 of 23 Page ID
                                 #:1205
                                Atkinson Baker, a Veritext Company
                                          www.depo.com


  1              Q     Did Juan ever try to hurt himself.
  2              A     No, not when I was there.            I never saw any of
  3        that nor did I hear any of that.
  4              Q     Did he ever say anything to you about being
  5        depressed or wanting to harm himself?
  6              A     Never.
  7              Q     He never tried to commit suicide that you are
  8        aware of?
  9              A     Never.
 10              Q     Were you ever scared of him?
      ,_
 11   ,_         A     Never.
 12              Q     Do you know why Juan and Valerie's mom broke
 13        up?
 14              A     I don't know.       I was a little kid, so I
 15        wouldn't -- we didn't talk about this kind of stuff when
 16        I was a little kid.
 17              Q     He never talked about it afterwards after you
 18        guys were grown up?
 19              A     Not really.
 20              Q     Did he have a relationship with Valerie's mom?
 21        That was a bad question.          Let me ask it again.
 22                    After they were no longer together, say like
 23        the last four or five years of his life, what was the
 24        relationship like between Juan and Ariana?
 25              A     Like good.     Like a good co-parenting situation.


                                        Abraham Terrazas
                                        February 25, 2021                        48
Case 5:19-cv-01023-JGB-SP Document 62-12 Filed 10/04/21 Page 4 of 23 Page ID
                                 #:1206
                               Atkinson Baker, a Veritext Company
                                         www.depo.com


  1          A      Yeah .
  2          Q      Okay .     You just gave them your name?
  3          A      I don't think I gave them a name, I said that
  4    was my cousin .
  5          Q      These officers that you were speaking with,
  6    they were outside of their cars?
  7          A      Yeah, everybody was outside, at least the ones
  8    that I saw.
  9          Q      So where did you go from there?
 10          A      Well, I was trying talk to them and tell them
 11    that can I talk to him?             And they were just saying "You
 12    got to get in the house."
 13          Q      Okay .
 14          A      They looked real jumpy.             Like they wanted to go
 15    inside the house             go inside the house.            One of the
 16    officers related to everybody that that's his cousin.
 17    It's family.          They said that's family.           We are all
 18    family here.
 19          Q      Then did you --
 20          A      Then I proceeded to walk into the house, into
 21    the gate .
 22          Q      Okay.      Was anyone out front when you got there
 23        I'm sorry, was anyone, any of your family, out front
 24    when you got there?
 25          A      When I got there my twin cousins and my uncle


                                       Abraham Terrazas
                                       February 25, 2021                         78
Case 5:19-cv-01023-JGB-SP Document 62-12 Filed 10/04/21 Page 5 of 23 Page ID
                                 #:1207
                            Atkinson Baker, a Veritext Company
                                      www.depo.com


  1    were at the gate.
  2          Q    When you are saying "at the gate", I understand
  3    there's like the front yard area and a driveway, then
  4    there's a gate that goes around?
  5          A    Yeah.     Correct.     They were on the driveway.
  6          Q    On the driveway on the house side of the gate?
  7          A    Yeah, on the front side of the gate facing the
  8    car where they had him in the stand-off.
  9          Q    But they were behind the gate?
 10          A    Behind he gate, because that's where the
 11    officer told us to be.
 12          Q    Okay.     There's gates on the driveway that open
 13    out, it looks like?
 14          A    Open in or out, I think.
 15          Q    Okay.     Were those gates opened or closed when
 16    you got there?
 17          A    Closed.
 18          Q    Did you open them to go in?
 19          A    I opened it to get in.
 20          Q    So you said David, Jr. and Josue were out there
 21    and your uncle as well?
 22          A    Yeah.
 23          Q    You didn't see your aunt outside at that time?
 24          A    I know she was in the house at one point.
 25    Maybe she was when I got there; maybe she wasn't; so I


                                    Abraham Terrazas
                                    February 25, 2021                     79
Case 5:19-cv-01023-JGB-SP Document 62-12 Filed 10/04/21 Page 6 of 23 Page ID
                                 #:1208
                            Atkinson Baker, a Veritext Company
                                      www.depo.com


  1    was David Jr. standing?
  2            A    By the gate.      By the -- where the gate opens
  3    and closes.
  4            Q   At that time did you see Juan?
  5            A    I couldn't see him directly because the cops
  6    were pointing two guns at him at the window, so I moved
  7    over so he could see me towards the yard area.
  8            Q    Okay.   So the fence           when you walk in the
  9    gate, the fence goes to like that dirt pathway, at the
 10    dead end?
 11            A    We didn't open it -- what was that?                Because
 12    the gate splits the house.            This is the front of the
 13    gates.      The street is in the front.            The gates open and
 14    close on this side.         This is the front yard.             The ditch
 15    goes on the side of the house facing the house -- that
 16    would be the west side of the house .
 17            Q    Okay.   So did you walk all the way
 18            A   No, I just walked to the middle of the front
 19    yard.
 20            Q    The middle of the front yard.                Thank you.
 21    Could you see Juan at that point?
 22            A    I saw him.     He smiled and he looked more
 23    relaxed.
 24            Q    You said he smiled?
 25            A   Not smiled, but I could see like he felt more


                                    Abraham Terrazas
                                    February 25, 2021                            81
Case 5:19-cv-01023-JGB-SP Document 62-12 Filed 10/04/21 Page 7 of 23 Page ID
                                 #:1209
                            Atkinson Baker, a Veritext Company
                                      www.depo.com


  1        he felt better that I was there.
  2           Q     You made eye contact with him?
  3           A     Yeah, because I nodded.          I said, "What is going
  4    on?"       I can just tell that his spirit picked up.
  5           Q     Did he nod or gesture or do anything to you?
  6           A     He just went like this, just shrugged.
  7           Q     Do you think that he could hear you when you
  8    were talking to him?
  9           A      I just kind of like went like this, like what
 10    is up?      What's going on?
 11           Q     So you just gestured at him?
 12           A      I gestured at him what is going on?
 13           Q     You think he shrugged?
 14           A     Yeah, he was just like              he brightened up, but
 15    he was just like -- I don't know.                I don't know what's
 16    going on.
 17           Q     Do you know if his window at that point when
 18    you were gesturing to him when you first got there, do
 19    you know if his window was up or down?
 20           A      I believe it was up because it was tinted.
 21           Q     Okay.   You could see him clearly or you could
 22    see the outline of him through the window?
 23           A      I could see him clearly.           I could see him
 24    clearly.      That's probably standing 50 feet away.
 25           Q     How far away do you think?


                                    Abraham Terrazas
                                    February 25, 2021                           82
Case 5:19-cv-01023-JGB-SP Document 62-12 Filed 10/04/21 Page 8 of 23 Page ID
                                 #:1210
                             Atkinson Baker, a Veritext Company
                                       www.depo.com


  1          Q     Did anyone else call him while he was in the
  2    car that afternoon?
  3          A     Not that I know of.          I wouldn't know.
  4          Q     You didn't call him?
  5          A     I didn't call him.          He was already on the phone
  6    with the cousin, so I didn't see a point of calling him.
  7          Q     Did you take David Jr. 's phone at all and try
  8    to talk to him?
  9          A     No.     Because when I got there everything
 10    happened so quick.         It was a few minutes before
 11    everything started.
 12          Q     Okay.     So after you walked to the center of the
 13    front yard behind the gate did you pretty much stay in
 14    that position?
 15          A     No, I went back to try to talk to one of the
 16    officers.
 17          Q     Okay.
 18          A     You said went back?          I went back to the gate to
 19    where it opens and closes to the doors.                    And I tried to
 20    talk to one of the officers that was there.                    "What is
 21    going on?"        I just asked him "What is the situation?                 I
 22    could talk to him.         What is the deal?          What is
 23    happening?"
 24          Q     Okay.    What did that officer say?
 25          A     I don't recall exactly what he said.                 He just


                                     Abraham Terrazas
                                     February 25, 2021                                84
Case 5:19-cv-01023-JGB-SP Document 62-12 Filed 10/04/21 Page 9 of 23 Page ID
                                 #:1211
                               Atkinson Baker, a Veritext Company
                                         www.depo.com


  1    said that he got a call and he had something -- or he
  2    was acting a certain way.              He was acting nervous or
  3    something and they followed him here and they are                        at
  4    that point where he didn't want to get out of the car.
  5             Q     Okay .   Do you know how long Juan was in the car
  6    with the officers present before you got there?
  7             A     I'm not sure.      After asking I think he had been
  8    there maybe like an hour or two or -- I don't know.                      I
  9    don't remember .         I don't honestly remember but I know he
 10    had been there for a while.
 11             Q     So how long was it where you are standing at
 12    the middle of the fence in the front yard and Juan is
 13    inside the car and deputies are outside of the car,
 14    right?       How long were you in that position?
 15             A     By the doors?       Probably like a few minutes
 16    because I was there the entirety .                  From when I got there
 17    to when the shooting started I think was probably like 6
 18    minutes, maybe .
 19             Q     Okay.
 20             A     I'm not sure.       I'm pretty sure the video will
 21    show when I got there and when the shooting starts.
 22    So I don't know the exact minutes but it wasn't very
 23    long .       But I tried talk to the officer.                I tried to tell
 24    him if you guys are saying if he has a weapon on him,
 25    I'll have him throw it out for the -- if he has a


                                       Abraham Terrazas
                                       February 25, 2021                              85
Case 5:19-cv-01023-JGB-SP Document 62-12 Filed 10/04/21 Page 10 of 23 Page ID
                                  #:1212
                           Atkinson Baker, a Veritext Company
                                     www.depo.com


   1    going on?
   2          A     There was some talking going on, yeah.          By the
   3    time I got there -- go ahead.
   4          Q     Do you think they were giving him -- do you
   5    recall that they were giving him commands, telling him
   6   what to do?
   7          A     Not really.    It looked like mainly they were
   8    just like talking within themselves when I got there.
   9    Because then when I went back to talk to them -- because
  10   when I went back to go talk at the Asian officer,
  11   because I realized he never went to talk to the captain
  12    or sergeant or whatever.         I told him, "Hey, I'm telling
  13   you he will listen to me.          He's either going to listen
  14    to me or my dad -- my dad's not here, so I'm here, so
  15   use me.      And I'm like -- so I told him -- now I lost my
  16    train of thought.      It's hard for me to talk slow.
  17          Q     That's okay.    I can keep asking you questions.
  18    Just try to keep in that mind -- we'll keep reminding
  19   you.
  20          A     So all I did was just tell him if you need a
  21    certain       if you need him to do something, I will have
  22    him do it.     He will get out of the vehicle.          He will
  23    comply.     He's just scared right now because it's six
  24    officers pointing guns at him.           He has no help and his
  25    family is across in the yard, so all he is is scared.


                                   Abraham Terrazas
                                   February 25, 2021                         87
Case 5:19-cv-01023-JGB-SP Document 62-12 Filed 10/04/21 Page 11 of 23 Page ID
                                  #:1213
                           Atkinson Baker, a Veritext Company
                                     www.depo.com


   1    If he gets out, he runs or whatever, he runs towards us.
   2    He is not going to do anything because we are his
   3    family.    He is not going to do nothing to us.            We are
   4    not scared of him or nothing.           That's what I told them
   5    and when he --
   6           Q   Hold on.   Wait for a question because --
   7               MS. MASONGSONG:       I'm just going to suggest that
   8    -- you are doing a great job.           Just try to listen to her
   9    question and respond to the question.              So we'll let her
  10    ask another one.
  11               THE WITNESS:     All right .
  12    BY MS. PAIGE:
  13           Q   So that conversation that you were just
  14    relaying to me -- to us, that you told him we are his
  15    family.    He won't do anything.         Are you saying those
  16   were the words that you said to the officers?
  17           A   Yeah, I said that to them because I could tell
  18    they were jumpy and scared.
  19           Q   Okay.   You are talking about -- was it that one
  20   Asian officer that was near the driveway that you spoke
  21   with?
  22           A   That is who I speak with because I could see
  23    all the cops were just ready
  24           Q   Okay.   You said in case anything happens?
  25           A   Yeah.   Because, you know, seeing TV -- seeing


                                   Abraham Terrazas
                                   February 25, 2021                          88
Case 5:19-cv-01023-JGB-SP Document 62-12 Filed 10/04/21 Page 12 of 23 Page ID
                                  #:1214
                            Atkinson Baker, a Veritext Company
                                      www.depo.com


   1    the news you know how many police shootings happen, so I
   2   was telling them if anything happens -- he's not
   3    dangerous.    He is not nothing.          He's just nervous right
   4    now.
   5           Q   Okay .   What did the officer say to that?           What
   6    did he say back to you?
   7           A   After that that's when he said we are not at
   8    that point anymore.
   9           Q   Okay.
  10           A   We are not at the point of talking anymore .
  11           Q   Okay.    Did you see any officers with their guns
  12   pointed?
  13           A   They all had their guns point, mainly .         At
  14    least three or four pointed.
  15           Q   Three or four guns?
  16           A   Minimum.
  17           Q   Okay.    Do you know if they were handguns or
  18    shotguns or any other type of gun?
  19           A   I know there was wo officers pointing guns at
  20    his head when he was sitting in the driver's seat.               I
  21    know for sure one was a handgun.             I'm not sure if the
  22    other one was a shotgun.          I think it was two handguns,
  23   but I'm not sure.
  24               There was a couple of other ones at different
  25   points behind him.        The Asian officer, I think, had a


                                    Abraham Terrazas
                                    February 25, 2021                          89
Case 5:19-cv-01023-JGB-SP Document 62-12 Filed 10/04/21 Page 13 of 23 Page ID
                                  #:1215
                             Atkinson Baker, a Veritext Company
                                       www.depo.com


   1   when he got out of the car?
   2          A     I couldn't see anything.             I think I saw a cable
   3    fall out, but I think it was like an aux cord or
   4    charger.
   5          Q    Fell out of the car?
   6          A    Yeah, fell out of the car because I remember
   7    him       like I think he looked down, but I'm not sure
   8   what it was.        But it was clearly either an aux or a
   9   phone charger or something.
  10          Q    How long at that point was he out of the car
  11    looking back towards the back of the car?
  12          A    So as soon as he got out, he was facing them
  13    and he took like three shots -- three bean bag shots and
  14    he was like panicking.         He didn't know what to do.         So
  15    he just hopped back into the car.                Hopped into the car
  16    as he was getting shot, just closed the door.                He didn't
  17    sit regular, he sat backwards basically seated so his
  18    knees were on the seat.
  19          Q    Okay.
  20          A    Tried to hide for cover or trying to take
  21    cover, maybe.
  22          Q    You said three bean bag shots were fired?
  23          A    Yeah.     So he was probably out of the car maybe
  24    5 seconds, 6 seconds, because he took one.                He took the
  25    second.    That's when he started thinking about getting


                                     Abraham Terrazas
                                     February 25, 2021                          101
Case 5:19-cv-01023-JGB-SP Document 62-12 Filed 10/04/21 Page 14 of 23 Page ID
                                  #:1216
                               Atkinson Baker, a Veritext Company
                                         www.depo.com


   1    in the car, then he took that third one as he tried to
   2    close the door .
   3           Q      Do you know if any of the bean bag rounds hit
   4    him?
   5           A      I saw all three hit him.             I'm not sure how man¥,
   6   were shot, but I saw three hit him.
   7           Q      Do you know who was firing the bean bag gun?
   8           A      I'm not sure.       I was assuming maybe the Asian
   9   because I know the bean bags were in short guns, so it
  10   might have been him or someone else.
  11           Q      So he gets back in the car, facing the back of
  12    the car you said, right?
  13           A     Uh-huh.
  14           Q      Was the door open or closed at that point, the
  15    car door?
  16           A      When he hopped out?
  17           Q      So he got out; the three bean bag shots were
  18    fired; he got back in and he closed the door?
  19           A      Yeah.    So he got hit once, that's when he
  20    started to panic.         He didn't know what to do.              He got
  21    hit the second time, then he started getting back in the
  22    car.       That's when he went into the car.                As he reached
  23    out to close the door, he got shot with the third one
  24    and he closed the door.
  25           Q      How long was he back in the car with the door


                                       Abraham Terrazas
                                       February 25, 2021                            102
Case 5:19-cv-01023-JGB-SP Document 62-12 Filed 10/04/21 Page 15 of 23 Page ID
                                  #:1217
                            Atkinson Baker, a Veritext Company
                                      www.depo.com


   1    closed?
   2         A    Probably another 2 or 3 seconds.                 Not long.
   3          Q   Then what happened?
   4         A    I think they just though maybe he just make a
   5    run towards where my family is .           He just got out of the
   6    car and directly started running towards the ditch area,
   7    so never faced the officers, nothing.               Never made a
   8    gesture towards them.
   9          Q   When he got out of the car that second time,
  10    did he have anything in his hands then?
  11         A    I didn't see nothing in his hands.
  12          Q   Where were you when he got out of the car the
  13    second time?      Were you in the same spot?
  14         A    I was already by the corner of the house, so
  15    closest to him because on the video you could see that
  16    after when he goes into the ditch, I think                     I believe
  17    I handed to it my cousin or I handed it to him -- I
  18    handed it to him after he went into the ditch, that's
  19   when I handed it to him.          Then I went on the walk to the
  20    corner of the house closest to him.              And that's when my
  21    cousin took video of him getting shot.                   You see me in
  22    the corner saying "listen" -- yeah.
  23          Q   Okay.     What were you saying?
  24         A    Listen.
  25          Q   You were talking to Juan?


                                    Abraham Terrazas
                                    February 25, 2021                              103
Case 5:19-cv-01023-JGB-SP Document 62-12 Filed 10/04/21 Page 16 of 23 Page ID
                                  #:1218
                           Atkinson Baker, a Veritext Company
                                     www.depo.com


   1    standing in the corner of the fence, so between the dirt
   2    alleyway and 13th, on that corner of the fence and where
   3    his car ended up when it moved forward and stopped, how
   4    far were you from like his car door at that point?
   5         A    I don't know .      25 feet maybe .       Or more .
   6          Q   Did you move your position from the corner of
   7    that fence as he ran?
   8         A    No, I kind of like froze, but he ran basicallY.
   9    kind of across from me, but on this side of the fence,
  10    then he tried to hop the gate.
  11          Q   Okay .   So at the time where he kind of ran
  12    north towards the -- next to the fence, where were you?
  13   When was he the closest to you?            When you were at the
  14    corner of the fence there and he was on the dirt
  15   pathway?
  16         A    When he passed running by through the alley --
  17   well, the alley
  18          Q   I know what you mean.
  19         A    Through the ditch, he kind of basically ran
  20    cross from me, so probably like 5 or 6 feet but, you
  21    know, he was -- then I was probably closest to him when
  22    he started hoping the gate.
  23          Q   Okay.    So by the time -- or between the time he
  24    got out of the car the second time, did you hear any
  25    let me ask that a different way .           When he got out of the


                                   Abraham Terrazas
                                   February 25, 2021                      107
Case 5:19-cv-01023-JGB-SP Document 62-12 Filed 10/04/21 Page 17 of 23 Page ID
                                  #:1219
                             Atkinson Baker, a Veritext Company
                                       www.depo.com


   1    car the second time, did you hear any shots fired?
   2            A   I heard shots fired.          Maybe I'm just -- it was
   3    just a lot of noises, but I heard one gunshot.
   4            Q   Okay.
   5            A   That's kind of like when I froze.             I'm like
   6   what's happening?        As he tried to hop the fence, I could
   7    see blood coming out of him.            So that's when I assumed
   8    that he got shot with a gun shot because bean bags don't
   9    do that.
  10            Q   Okay .   So where were you when you heard what
  11   you believed was a gunshot?
  12            A   In the corner of the -- I stayed in the corner.
  13            Q   Okay.    Where was Juan when you heard the
  14    gunshot?
  15            A   He was by the ditch.
  16            Q   Which way was he facing, if you know, when you
  17    heard the gunshot?
  18            A   Facing me or facing the house, away from the
  19    officer.
  20            Q   You said you saw blood on his shirt at that
  21    time?
  22            A   I saw like blood -- I just saw blood on him.             I
  23    don't remember -- it was -- I couldn't see in the shirt
  24   because he had like a dark navy blue shirt, so it was
  25    kind of hard to see it, but I saw like blood -- like I


                                     Abraham Terrazas
                                     February 25, 2021                       108
Case 5:19-cv-01023-JGB-SP Document 62-12 Filed 10/04/21 Page 18 of 23 Page ID
                                  #:1220
                            Atkinson Baker, a Veritext Company
                                      www.depo.com


   1    saw blood droppings on his arm.
   2          Q   Okay.     Do you remember which arm?
   3         A    I think it was the right arm, I believe.
   4          Q   This was when he was still on the other side of
   5    the fence from you?
   6         A    Yeah, because he was about to hop the gate when
   7    I started seeing blood on him.
   8          Q   Okay.
   9         A    I heard the gunshots, so I assumed that he
  10    already got shot.
  11          Q   Okay.     So you said when you heard the gunshot
  12    he was either facing you or facing the house, right?
  13         A    Uh-huh.
  14          Q   So did he go over the fence at that time?
  15         A    That's when he started to go over the fence.
  16    The whole time he was basically running towards us,
  17    towards the house for safety.            So I -- at no point did
  18    he ever turn around or nothing.            The whole time he ran
  19       he ran towards us.        When I heard the gunshot, he
  20    tried to hop the fence.
  21          Q   How far from you was Juan when he hopped over
  22    the fence into the front yard?
  23         A    I don't know, probably 6 to 8 feet.
  24          Q   So sounds like you kind of stayed in the corner
  25    of the fence there?


                                    Abraham Terrazas
                                    February 25, 2021                      109
Case 5:19-cv-01023-JGB-SP Document 62-12 Filed 10/04/21 Page 19 of 23 Page ID
                                  #:1221
                            Atkinson Baker, a Veritext Company
                                      www.depo.com


   1            Q   During this whole time period from when he got
   2    out of the car the second time ran, hopped the fence and
   3   went to the front porch, did you see anything in his
   4    hand?
   5            A   No.
   6            Q   Okay.   You never saw him with a knife or a box
   7    cutter?
   8            A   Not at that point.
   9            Q   Okay.   So your aunt comes out of the door.
  10    Juan gets to the front door and you come up and hold him
  11    from the side, right?
  12            A   Yeah.
  13            Q   Is anyone else around the immediate area right
  14    then at that moment?
  15            A   Only my aunt.
  16            Q   Okay.   So it's the three of you at the front
  17    door?
  18            A   Just us three.
  19            Q   Okay.   Do you know where your cousins were
  20    right at that moment?
  21            A   No, I wasn't paying attention.               I'm pretty sure
  22    they were still in the driveway.
  23            Q   The same question regarding your uncle, do you
  24    know where he was at that moment?
  25            A   I'm pretty sure in the driveway as well.


                                    Abraham Terrazas
                                    February 25, 2021                          116
Case 5:19-cv-01023-JGB-SP Document 62-12 Filed 10/04/21 Page 20 of 23 Page ID
                                  #:1222
                              Atkinson Baker, a Veritext Company
                                        www.depo.com


   1            Q    Okay .   Any of the officers, do you know where
   2    any of them were at that moment when you and your aunt
   3    and Juan were at the front door?
   4            A     I'm sure they were still finding their way into
   5    the house .
   6            Q    Okay .   So you said that you went up to your
   7    cousin and grabbed -- or grabbed him or held him from
   8    the left side?
   9            A     I held him from the left side, then I grabbed
  10    his arms, then I saw the blood .             That's when I started
  11    feeling to see his blood -- just had a handful of blood .
  12            Q    Okay.    What do you mean, you grabbed his arms?
  13            A     I grabbed his arms to see how he was feeling.
  14    I grabbed him, he just felt strong.                I said, "Are you
  15    good?       I got you."    At that point is when I see the
  16    orange box cutter.
  17            Q    Where did you see the box cutter?
  18            A     In his hands, but it was like a little, little
  19   box cutter.        Like a work box cutter.            Like a long finger
  20    nail kind of that sticks out maybe not even an inch.
  21            Q    Okay .   Do you know if it was in his right hand
  22    or left hand?
  23            A     I don't know which hand .
  24            Q    Okay .   You saw it at that point in his hands
  25    or


                                      Abraham Terrazas
                                      February 25, 2021                       117
Case 5:19-cv-01023-JGB-SP Document 62-12 Filed 10/04/21 Page 21 of 23 Page ID
                                  #:1223
                           Atkinson Baker, a Veritext Company
                                     www.depo.com


   1         A     I just saw something orange.
   2          Q   You know now that it was a box cutter, right?
   3         A     I know that because I work at Home Depot.
   4    That's the box cutter that we are given at Home Depot.
   5          Q    Is there anything unusual about this box
   6    cutter?   When I think of a box cutter I -- you expose
   7    the blade with your thumb kind of --
   8         A     So it's a safety box cutter.            So you have to
   9    have your thumb on it to expose the blade and it
  10    retracts as soon as you let go and the blade is verYa
  11    little, just enough to cut shrink-wrapping tape.
  12          Q   Had you ever seen Juan with this box cutter
  13   before?
  14         A    No.
  15          Q   Have you ever seen him with any knife before?
  16         A    Well, I mean obviously when we were working on
  17    stuff.    Like as in working tools or what do you mean?
  18          Q   Just carrying around -- did he ever carry a
  19    knife on him?
  20         A     I didn't see it.
  21          Q    So you are at the front porch with your aunt
  22    and Juan, you see the box cutter, then what do you do?
  23         A    Well, nothing really.          I just keep holding him.
  24    I didn't pay him no mind because I know he is not going
  25    to do nothing.


                                   Abraham Terrazas
                                   February 25, 2021                        118
Case 5:19-cv-01023-JGB-SP Document 62-12 Filed 10/04/21 Page 22 of 23 Page ID
                                  #:1224
                           Atkinson Baker, a Veritext Company
                                     www.depo.com


   1           Q    Was he standing at that point?
   2           A    He was still standing at that point.          He still
   3    felt strong at that point.         I just kept holding him.       "I
   4    got you, Bro.     I got you, Bro."        At that point that's
   5   when I started feeling him getting weaker .
   6           Q    Was he facing towards you at that point or awaY.
   7    from you?
   8           A    He was facing towards me, looking me in the
   9    eye.
  10           Q    Did he say anything?
  11           A    The whole time when -- as soon as we got to the
  12    front of the door he was -- just screaming "Help me."
  13    He was screaming -- at first he was saying, "Help me,
  14    Tia", which means "Help me, Aunt."             He was telling that
  15    to our aunt.     Then when I started holding him, he said
  16    "Help me.     Help me."    That's all he was saying.         That is
  17   when I said "I got you, Bro.           I got you, Bro."
  18           Q    You said you felt him getting weaker, right?
  19           A    Getting weaker, correct.
  20           Q    At some point did he -- was he standing this
  21   whole time or at some point he went to the ground?
  22           A    He was still standing.        He was still standing,
  23    then when I heard the cops -- the officers getting kind
  24    of nearby, I heard him shouting                I kind of looked back
  25    and I just felt him drop.         Like he like slid from my


                                   Abraham Terrazas
                                   February 25, 2021                         119
Case 5:19-cv-01023-JGB-SP Document 62-12 Filed 10/04/21 Page 23 of 23 Page ID
                                  #:1225
                               Atkinson Baker, a Veritext Company
                                         www.depo.com


   1          A      Yeah .    It sounds like it's the gunshot .
   2          Q      That is essentially -- go ahead.
   3          A      Right there you could hear him.                He starts like
   4   mumbling.       He starts trying to talk.              At that point he
   5    already got shot.         He couldn't really talk.             You could
   6    hear him, he had just got shot.                That's when he said
   7    "Help me."
   8          Q      Let me see real quick.            Going back to 27
   9    seconds here.         It's hard to make out.
  10          A     As soon as the video ends.
  11          Q      Okay .    Okay.
  12          A      Right at the video end you could hear him
  13    trying to talk .        That is when the video cuts off.
  14          Q      Gotcha.     You said earlier that either before
  15    the lawsuit was filed or when the lawsuit was filed you
  16    had given that video to the other attorney.                    You gave
  17    her name as Marg -- hold on a second.                  I went the wrong
  18   way.       Margie Barrios; is that right?
  19          A      Marjorie Barrios.
  20          Q     All right .        Who have you shown that video to,
  21    other than Marjorie .
  22          A      People from the family.
  23          Q      Did you show it to your cousins, David Jr. and
  24       Josue?
  25          A      Yeah, they seen it .


                                        Abraham Terrazas
                                        February 25, 2021                          156
